       Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 1 of 20 PageID #:1
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                                                         please attach an additional sheet and reference that section']
                                                                                                                                        t,

                          ...      I#T"Pffr#.H 3l3lll3l 33ffi ..orffi ffi ffi ffi vE D                                    B


                                                EASTERN DIVISION
                                                                                                      1;fiic 07 zrlfi
  btlretl^'1 SWn$rrd                                       I                                     .,=,Il;   ili dl   B   8ffi 8TBU uo,
                                                           )
                                                           )
                                                           )          CNIL ACTION
(Name of the plaintiff or plaintiffs)                      )
                                                           )
                  V.                                       )          1:18-crr{S073
                                                           )
                                             :1nc                                                                             E Gor
\AJA\ -     MArr          S\or.ts        ,                 )
                                                           )
                                                                      ll,l':*::3oF""*"
                                                            )
                                                            )
                                                            )
(Name of the defendant or defendants)                       )




1.    This is an action for employment discrimination'

2.    The plaintiff is

county    of                  O&V.                                  in the state of           ltt   "ttc, S
3.    The defendant is                              h ftort:                 1-^C

 street address is


 @it,o Oh,(fr;                  county)          Lmr              (state)                           (zr1 bcileg
 (Defendant' s telephone number)                   M_              .3q4-       Qot b

                                                                          (street address)
 4.   The plaintiff sought employment or was employed by the defendant at


             / 0? ttrr ,5, DorY                 +Yz                                  @i$ (hicttiT




                                                            please attach an additional sheet and reference that section'l
             [lf you need additional space for ANY section,
        Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 2 of 20 PageID #:2
                                                         please attach an additional sheet and reference that section'l
          ilf you need additional space for ANY section,




5.   The plaintiff lcheck one box)

     (u)n          was denied employment by the defendant'


     O)E           was hired and is still employed by the defendant.

     (.)n          was employed but is no longer employed by the defendant.


     The defendant discriminated against the plaintiff on or about, or
                                                                       beginning on or about'
6.
     (month) Oc'toAe R- , @av)-3-t-,                          (veal )ol b

7.1    (Choose paragraph 7.1             or 7,2, do not complete both')
                   (a) The defendant is not a federal governmental agency, and the plaintiff lcheck

                                                                     filed a charge or charges against the defendant
                         one    boxl     llrorrrol
                                                   V)no'
                                                indiited in this complaint with              any of the following
asserting the acts of discrimination
govemment agenctes:

                                                                                          on or about
         (i)        fl     ,n. United     States Equal Employment Opportunity Commission,

                    (month) 0 LJcrbrr'                 (duv)3!-(veai                     1ot     b   '



         (ii) fl           ,n.Illinois Department of Human Rights, on or about
                     (month)                           (dav)-                (Year)-'
     (b) If charges were filedwith            an agency indicated above, a copy of the charge is


 attached.      fl vrs. fl                *o,    but plaintiff will file a copy of the charge within 14 days.

                                                                      and the Illinois
 It is the policy of both the Equal Employment opportunity commission
                                                                 all charges received' The
 Department of Human Rights to cross-file with the other agency
            no reason to believe that this policy was not followed in this
                                                                           case'
 plaintiff   has



 7.2         The defendant is a federal governmental agency, and
          (a)theplaintiffpreviouslyfiledaComplaintofEmploymentDiscriminationwiththe
             defendant asserting the acts of discrimination indicated
                                                                      in this court complaint'



                                                                    2


                                                              please attach an additional sheet and reference that section'l
               llf you need additional space for ANY section,
     Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 3 of 20 PageID #:3
                                                                                            reference that section.]
       [lf you need additional space for ANY section, please attach an additional sheet and




                     m          yes(month)          tc*.;beP.                 (da, 3(5r Oear) Z-Dlt

                     tr         No, did not file Complaint of Employment Discrimination

     (b)       The plaintiff received a Final Agency Decision on                     (month)       I\f f , I
               @ufl        A5*         (year) ? of b
      (c)      Attached is a copy of the

               (i)   Complaint of Employment Discrimination,

                     EKrt              E      *o, but a copy will be filed within              14 davs'



               (ii) Final Agency Decision


                     E[vBs
                     -,/                 ll   No, but a copy will be filed within               14 davs.




8.    (Complete paragraph           I only if defendant is not a federal governmental                   agency.)


      (u)fl          the United States Equal Employment OpportunityCommission has not issued


                     a    Notice of Right to Sue.


      o)E            the United States Equal Employment Opportunity Commission has issued a


                     Notice of Right to Sue, which was received by the plaintiff on
                      (month) 04                        (dav)---J-Q- lveal 7n                  E      a copv    ofwhich

                     Notice is attached to this complaint'


9.     The defendant discriminated against the plaintiff because ofthe plaintiff s lcheck only
       those that aPPlYl:


       (u)fl      Age (Age Discrimination Employment Act).

       O)f]       Color (Titte     vII   of the   civil   Rights Act     of   1964 and42       u.s.C. 91981).


                                                               ^J


                                                        please attach an additional sheet and reference that section']
         [lf you need additional space for ANY section,
      Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 4 of 20 PageID #:4
        [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




       (.)m      Disability (Americans with Disabilities Act or Rehabilitation Act)

       (OE       National Origin (Title VII of the Civil Rights Act                   of    1964 and42 U.S.C. $1981).


       (.)f]     Race (Title     VII of the Civil Rights Act of             1964 and42 U.S.C. $1931).

       (08       Religion (Title VII of the Civil Rights Act                of   1964)

       (g)E      Sex (Title     VII of the Civil Rights Act of 1964)

r0.    If the defendant is a state, county, municipal (city, town or village) or other local
       governmental agency, plaintiff further alleges discrimination on the basis of race, color,

       or national origin (42 U.S.C. $ 1983).

11.    Jurisdiction over the statutory violation alleged is conferred as follows: for Title                             VII
       claims by 28 U.S.C.$ 133r,28 U.S.C.$1343(a)(3), and42 U.S.C'$2000e-5(8(3); for
       42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42                                 U.S.C.$l2ll7;
       for the Rehabilitation Act, 29 U.S.C. $ 791.


t2.    The defendantlcheck only those that applyl


       (u)E           failed to hire the plaintiff.

       o)E            terminated the plaintiff s employment.

       (.)E           failed to promote the plaintiff.

        (d)E          failed to reasonably accommodate the plaintiff                   s   religion.

        (.)M          failed to reasonably accommodate the plaintiff s disabilities.

        (0E           failed to stop harassment;

        relE           retaliated agains t the plaintiff because the plaintiffdid something to assert
                       rights protected by the laws identified in paragraphs 9 and 10 above;

        G)E           other (specify):




                                                               4


         [lf you need additional space for ANY section, please attach an additional sheet and reference that
                                                                                                             section']
            Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 5 of 20 PageID #:5

            [lfyouneedadditionalspaceforANYSection,pleaseattachanadditionalSheetandreferencethatsection.]




13.         ThefactsSupportingtheplaintiffsclaimofdiscriminationareasfollows:
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  14.             IAGEDISCRIMINATIDNoNlYlDefendantknowingty,intentionally,andwillfully
                 ;isili*;;,ed     against the Ptaintiff'

                                       that the case be tried
                                                              by           a   jury.       EI vrs [ *o
      15.        The plaintiff demands
                                                                                         to the plaintiff
                                                that the court grant the forowing relief
                                           asks
      16.        THEREF.RE, the praintiff
             t   iii*
                    onlY those that aPPlYT


                                                    hire the plaintiff'
            (r)X            Direct the defendant to
                                                    re-employ the plaintiff'
                            Direct the defendant to
            o)[
                                                    promote the plaintiff'
            (.)E            Direct the defendant to
                                                                                          s religion'
                                                                accommodate the plaintiff
             (0x             Direct the defendant to reasonably


             G)[             Directthedefendanttoreasonablyaccommodatetheplaintiffsdisabilities.
                                                     (sPecifY):
              (0x            Direct the defendant to



                                                                       5




                        [lfyouneedadditionalspaceforANYSection,pleaseattachanadditionalsheetandreferencethatsection.l
     Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 6 of 20 PageID #:6
        [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




   e)s            If available, grant the plaintiff appropriate injunctive relief, lost                  wages,
                  liquidated/double damages, front pay, compensatory damages, punitive damages,
                  prejudgment interest, post-judgment interest, and costs, including reasonable
                  attorney fees and expert witness fees.

   G)E            Grant such other relief as the Court may find appropriate.



        ntiff   s signa




   (Plaintiffs name)



   (Plaintiff    s street address)

      45r E" L,l\rt^ 0i #^ot


<r,o>   \ir,cftio                      $tatq       7-L 6ry k,btj
                                                        '2i,3 " 3Z8Z
(Plaintiff s telephone number)           ill) -

                                                                             Date:               /A-t-        rB




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         llf you need additional space for ANY section, please attach an additional sheet and reference that section.l
                Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 7 of 20 PageID #:7
                                                                                                                         Png   r. c
                                                                                                           E x*,hl


                                             CERTIFICATE OF DELIVERY

Attachments Enclosed:
                                1.) MY STATEMENT OF FACTS RE: MY WALMART CASE

                                2.) MY AFFIDAVIT; (Dorothy Swafford)

                                3.)   JACKTE SCOTT',S AFFIDAVIT


                                4.) STORE MANAGER LETTER; (issued by Jackie Scott)

                                5.) coPY A; (PERSONNEL MGR. FAx)

                                5.)COPY B; (SEDGWICK FAx)

                                7.) COPY C; UNEMPLOYMENT STATEMENT LETTER




Dorothy Swafford
451 E. +gth pL, *2ot
cHtcAGo, ILLtNO|S 60649
Telephone : (77 31 263-3282

Under the UCC'Codes L-2O7,1-103, 1-308 without bias or prejudice
All Rights Reseryed




State of

County of                                                                    Subscribed before

Executed on                                                                2017
                                                                                            "OI:FICI I\L SF-AL"
                                                                                          RoJ,eile C,'-ls",n' slan{ord


                                 Notary Official



Certificqtl of Dgliyery/   llgllry Official/ My Documentation   And Facts To Carot Mitzani, officer of   EE6C
                                                                                   ?n1r..1,
                  Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 8 of 20 PageID #:8 o t-           L
                                                                                E   xt+;g,s-

  r   e agth PL   s2o1

          rL 50615

772-263-3282



To: CarolMilzani

EEOC   Officer

Chicago,lL

312-869-813 3 Case# rt40201700489

oate, 1.f l't / zotT

                               MY STATEMENJ OF FSCIS.RE: MY WALMART CASE




I am thankful for you allowing me again,to make this matter as clear as I can as lt relates to the evidents I
have previously provided you with, so we can continue with my case. I follow all protocol in communicating
with Sedgwick and WALMART. Sedgwick then communicated with WALMART letting them know that I had
been approved to return to work, aftenvards, WALMART did not contact me in regards to calling or writing
me to inform me that I am approved to return to work. WALMART violated their own procedural protocol.



 on o4l25lt5, I went to WALMART to inform them that I was supposed to return to work
                                                                                    o9
                                                                                                                w
 The person I spoke to about this was Ramona, who was the manager of personnel. Ramona told me that she
was waiting on Sedgwick, so thls caused me to wait as well. I wasn't aware that I had already been approved
to return to work at that time by Sedgwick. After waiting months, I decided to request information on my
medical leave case connected to Sedgurick's disability Claim Office case, from Sedgwick; via fa& on 1016/16.
The fax I received from Sedgwick revealed to me that I was approved to return to work. This is how I found out
that I had already been approved at that time. Sedgtrrrick lnformed me that my case had been closed back in
May of 2016, and I had been approved to return to work.



They said they assumed I had returned to work at WALMART. Sedgwick approved me with my
accommodatlons' listed. My accommodations were not the issue obviously, or reason why I didn't get back to
work in a timely fashion; WATMART clearly failed to follow protocol by contacting me and putting me back to
work due to obvious negligence. Because after all, I am back at work with the same accommodations listed,
and working full time. lf I should need to utilize any of my accommodation$ based on how I feel, I know I can.
.J-.
 .l-.t
                       Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 9 of 20 PageID #:9

    Note: There isn't any restrictions in the festriction chart area on my return to work certification form; there
    are only accommodation in the accommodation's area; you have this evidence (document) in your possession;
    only accommodation area has written accommodation written by Dr. Mo., who is my doctor.




    Furthermore, on LO|O6|2AL6, I spoke to Sedgwick, who told me that WALMART was incorrect in telling me
                                                                                                               '


    that, they were waiting for SedgwiclCs Disability Claim Office to contact them. ln fact, WALMART had already
    been contacted by Sedgwick concerning this matter; please refer to evidence (document) you have in your
    Possession: listed as ...fax sent to WALMART from Sedgwick Disability. I will enclose this document again with
    this packet as (copy B). This will corroborate my claims what l've just expressed.

    Jackie Scott, a friend of my family, delivered a letter to WAIMART informing them that I was suppose to return
    to work months ago. lt took another month before I was officially back working on LLlt3lL6. So in this
    packet you have useful details and dates, including documented facts that I have also provided initially.

         I hope now   that we are on the same page and moving fonrard with this matter.


                                                                                                  ?ryf .Lat'A
                                                                                                E xr+ igil




     Thanking you in Advancel



     Dorothy Swafford

         All Rishts Reserved
            Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 10 of 20 PageID #:10 Pns                           E.gA
                                                                                    E   r ru,6it
                                         AFFIDAVIT


Date: ,rf ltt ltj                               county:
                                                                   (-aolL
Purpose: To provide my Statement as it relates to the matter concerning my case.



I Dorothy Swafford who is a resident of Cook County, State of ILLINOIS, makes this her
Statement and General     Affidavit upon oath and alfirmation of fact and personal knowledge that the

Following matters, facts and things set forth are true and correct to my knowledge.



I am bringing to my   case facts   that I witnessed during this time of unjustified neglect and discrimination. On

112016 it was agreed upon and approved by Walmart/ Sedgwick disability , that I was able             to   be   offwork for

6 months until 7/ 2016. During this time     off I was denied disability   pay. So without income I was forced to cut

my medical leave short. In the month of April 2016        I   contacted Sedgwick disability and Walmart. I made

several attempts to return to work properly by following steps while on medical leave.         I brought in a Doctor's

release to personnel Mgr (Ramona) on:4125, which she herself faxed to Sedgwick:(Copy A). I then received a

call on 4126116 from Sedgwick Claim offrce stating it was ok for me to go back to work. Andon4128

Sedgwick disability Claim office faxed over a statement: (Copy B)          to Walmart lMgr.     This shows on5l2l2Afi

I was clear to return to work, personell Mgr did not follow Protocal to retum me properly. As Notated on the

fax: (Copy B) There are 4 Important steps. I never received a call or a letter in the mail or any form of contact

telling me to return, or providing Hours to work. * Please note the Key Discussion Points at bottom of this Fax.

I am pointing out facts to show neglect, that has caused me to have to go on Welfare, Unemployment and loss

of Wages, time, and stress all during a Medical leave to recuperate my condition.* Please see: my Statement

letter : (Copy C ) as it points out several key factors of my case. I feel my             to work was well over do and

has been neglected by'r   wALMART.
                          "'                     l        'roi=l:lc' f\L SEAL"
                 tt^                             J     Rr-clrelle Crosure'Slilnf(


                                            rydiiiii',}ilfir:ffi#i
Dorothy Swafford    !X9t|nW:'*{f{ln/tffi,,*U            NOTARY
                                                                                                     r-\
             Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 11 of 20 PageID #:11            YNe "3
                                                                                          E x l':   t';t
                                                              AFFIDAVIT



Date:   A4f//7                                               countv:    e-oo k
Purpose: "To provide my statement as it                   rel                                       '



Personally came and appeared before me, the undersigned Notary, the within named Jackie Scott, who is

a resident   of Cook County, State of ILLINOIS, and makes this his statement and General Affidavit upon

oath and affirmation of fact and personal knowledge that the following matters, facts and things set

forth are true and correct to the best of his knowledge:




I Jackie Scott, on10110116, personally hand delivered a'NOTICE'to the on duty store manger Luis

Elver, in reference to Ms. Dorothy Swafford's well over do return to work that has been neglected by

WALMART.



Dated        /1-o^r*/#,'/
        u" /z/                                                          ,2oJZ



SWORN to subscribed before
                                         ^,*r/@*,                                        ,2od-
                              "OFFICI qL SEAL"
                          Rocheiie C,osu re- Stanf ord
                  J       l':',tar, Pu[..rlic, State ol lllinois         NOTARY PUBLIC
                  i   t,',,   (   ,;n   rission   ExPires 9l??!2^9:]^



My commission Expires: 8-Z-Z-2A                            I7

                                                                                              AFFTDAV|T DOC. SJ. 04106/2017
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        Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 12 of 20 PageID
                                                                                                   tl
                                                                               Erhibi'l

    Dorothy Swafford

    451 E.48th Pl#201

    Chicago,   ll   50615

                                                        Store Manager/ Re: My Job position

                                                        109 S. Doty Rd

                                                        Chicago, lL 60528

    Dear Store Manager:

    This is a Notice to remind your Store that I was supposed to have returned to work Months ago.
    It is clearly stated from Sedgwick that I could return. SedgwicKs Claim office representive
    called me back on 4l26lt6 and stated there were no problems for me to return to work. They
    then closed my case. There was no Disability Act that ! was waiting on to clear me for work. But
    I was told by Ramona I couldn't return until Sedgwick contact Wal-Mart. Sedgwick had already
    Ok'd me to return. I spoke to Sedgwick on ThursdaV LOIO6/2OL6; they said they thought I had
    returned to work. They approved me Months ago.

    See: *Attached Sheet* approving me to Return to work 5lO2/L6. But H/R said I could not, so      I

    waited and suffered under pressure and financial stress.

    So once again I am facing financial hardship, as this unemployment is ending. I now need to
    return to work with no Problems. I will be waiting for a Call, and for my (Hours)to be put in for
    me to return. Last positions was Fitting room/ Cashier / Optician.

    Thank you

    Sincerely, Dorothy Swafford

    77tr-263-3282t Lol0e /2oL6




    Dorothy Swafford



    Jackie                                           Dated:   / 0l a/b o /e
                                                                  /,




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                                                                                                                                                       I

            Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 13 of 20 PageID #:13



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                 g'trmslsxxkfl                                                      ru    s imxh                                il#s
Personnel                                                     Monday,          20a6-04-2s                r_1   227                            1,7734680701

Date          Time            Type Job # Length Speed Station                                                  wame/Number                   Pgs Status
201,6-04-25 LL:25 SCAN                      01,477             1:53          L4400                                              vYw               OK   - v.l_7 1H30




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                  Dalc Atsocht!      rr{,hcd   to   ;;;
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                                 SEDGWICK                                 PageID
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                                                                                                        {xui6tf                 i c*ng)
                        From : walmartincomingreplies@sedgwickcrns.com
                        Sentz 04128 l20l 6 21 :43 :27 .920
                        To: STORE-MGR.s05965(@stores.us.wal-mart.com,TRAINING-
                        COORD.s05965(a)stores.us.rval-mart.com-PERSONNEL.s05965@)stores.us.wal-
                        mart.com
                        Subject: DOROTI{Y SV/AFFORD i# 210134642- Accommodation Request
                        Determination Notice-Partial Approval

                        Name: DORO'IHY SWAF'I-ORI)
                        WIN ID:210134U2
                        Clairn #: 86830381 3 l -0001-01
                        Phone: (800) 492-5678




                                                                                                                          a ll!,'*j'li]-'
                                                                                                                            '*o,
              n(                                                                                                                          /  i,I, *,
    s*,,t               The following accommodations have been approved:
4                  r
                       _-A    r Allow the associate to return to work        05102/16                                                                  t
                              o
                              r
                                Allow her to have water and her BP Meter at her register
                                Please provide her with a stool/chair to haye at her register
                                                                                                                                $X,ci.-  (
                              o Ploase aesist her in adiusting her availabbiliy andlor schedullng preferencee
                                                                                                                                  ;)l/\L .,r F.
                                                                                                                                    ,

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              ,U
                                  l.       Print the attached determination letter which should be given to the associate. lf
 40"                              the associate is currently on leave and cannot be reached by telephone, the letter should
                                  be mailed to them via overnight mail (not certified).


                                  2.       Schedule time to cover the determination with the associate within 24 hours
                                  3.       lmplement the accommodation as quickly as possible.
                                  4.       Keep interactive discussion channels open with the associate,



                        fisy F.irpu::iqn        lqil$
                              o Communicate a timeline for implementation of the accommodation and explain to the
                              associate that this accommodation is there to assist with performance expectations in their
                              job (if necessary).
                              . Encourage the associate to noti$ the facility if their accommodation is not effective and
                              communicate this back to ASC for further direction.
                              r Explain to the associate that if they reject the alternative offered and provide no
                              acceptable counter alternative, no furiher action will be taken and they \r/ill be expected to
                              perform within existing conditions unless doing so would violate their medical restrictions.
                              r Advise the associate that, regardless of whether they accept or reject the accommodation
                              offered, they can still pursue other options such as applying for a transfer or taking a leave
                              of absence (if ellgible).
                              I Advise the associate that they can appeal the determination by completing and
                              submitting the Request for Reconsideration Form attached to the determination letter (also
                              page 8 of the Accpmmodation Reguest Packet),




  4-28-2016                                                          8683038131000101                                            7020'160428046834
                                                                                  ?nstr-'
             Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 15 of 20 PageID #:15               r   .'
                                                                         txl1ifi,f LCofI C)
From: DOROTHY SWAFFORD                                                             Date:05/2O|2OL6
      451 E. 48rH PL #201                                                          Claimant lD:"3440097
      cHlcAGo tLL, 60615



To: lllinois Department of Employment Security
    P.O. Box 19509
    Springfield ,lL 62794


This is my "statement letter" in my defense against WALMART'S false claims of stating: I was not able or
available to work and that I voluntarily quit to take a medical leave of absence. These statements are
absolutely false. I was able and available for work since my release from Doctor on 4122/16. I was due to
return to work with specifications listed by my doctor concerning my medical condition on al2S/LG as well as
s/02/2oL6.

I filed for Unemployment due to the fact that Sedgwick Disability Claim Office/ Walmart had given me such a
difficult and stressfultime while on an "approved medical leave by Sedgwick". They did not provide me with
payment while on medical leave from OLl2OT6tillthe date of Denial on 4ltLlt6. WALMART has worn me
down physically while on medical leave and financially throughout this whole process in my compliance to
satisfy what they required in order to pay me while off work for medical leave. t have worked lqyally for
WALMART for 10 hard dedicated years and I don't deserve this mistreatment, neglect and disregard just
because of my medical conditions.

Concerning my initial return date of 04125/L5 The Human Resources Manager (Ramona)/ WALMART told me
upon my first visit on O4125/76 the Restrictions that the Doctor listed would not return me to work, it would
be rejected. She said I needed a corrected return sheet from doctor and I have to fax a Certification Medical
Release Form to Sedgwick/ WALMART before I can return to work with accommodations. She also said
WALMART'S store manager (Louis)would give me the hours and they would call me, so I waited.

                         to my job (WALMART) with handwritten note and made several phone calls to
I have made several visits
insure work hours were given to me.

On 0a12612016 I received a callfrom Sedgwick/ WALMART Disability Claim Office Representative who stated
that there wasn't a problem for me to return to work with accommodations specified. He then stated that
they would call me. Alter O4/26/2Ot6l received no calls concerning this matter from Sedgwick Disability
Claim Office or from my job at WALMART to this day. There has been no hours granted to me. What am I
suppose to do? I then looked for work and had filed for unemployment benefits. I am financially behind in
rent and other bills because of Sedgwick's/ WALMART'S negligence and disregard overall.
                          Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 16 of 20 PageID #:16
    trtrvul-Olm!(ii/uv/


                              CuencE or DrscRtMtNATIoN                                                           Charge Presented To:                        Agency(ies) Charge No(s):
                    This form is affected by the Privacy Act of 1914. See enclosed privacy Act
                            Statement and other information before completing this form.                              f             FEPA
                                                                                                                                    EEoc
                                                                                                                      tr                                        440-2017-00479
                                                                lllinois Department Of Human Rights                                                                           and EEOC
                                                                                 State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                                      Home Phone (lncl. Area Code)           Date of Birth

     Dorothy J. Swafford                                                                                                                 (7731263-3282                   07-13-1961
Street      Address                                                                     City, State and Ztp Code

    45'l E 48th Place, Chicago, lL 60615

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICTJLARS below.)
Name                                                                                                                                No. Employees, Members     Phone No. (lnclude Area Code)

WALMART                                                                                                                               500 or More                  (773) 344-9016
Street Address                                                                          City, State and Zlp Code

10900 S. Doty Avenue, Chicago, lL 60628

Name                                                                                                                                No Employees, Members      Phone No. (lnclude Area Code)



Street Address                                                                          City, State and ZIP Code




OISCRIMINATION BASED ON (Cfieck appropriate box(es).)                                                                                          DATE(S) DTSCRTMTNAT|ON TOOK pLACE
                                                                                                                                                     Earliest               Latest !
      [-l noc. [-l .oro* [*l r.* l-l nEr-roror E NAroNALoRrcrN                                                                                                           10-31-2016
         l-l *rro,,o,o* l-l oo. lTl ,,soa,,,r, l-l o.*.r'" TNFoRMAToN
                                  oTHER (Specity)
                          J   I                                                                                                                      f]      conrlnrurNc AcroN
THE PARTICULARS ARE (/faddlronal paper is needed, attach extra sheet(s)):


     ! began my employment with Respondent on or about March 18,200tr My most recent position was
     Gashier. On or about January 2016,1 took a medical leave of absence. ln or around April 2016, I
     infbrmed Respondent that I was released to return to work. I have called to no avait. To date, I have
     not been returned to work.
                                                                                                                              1
     I believe that I have been discriminated against because of my disability, in violation of the
     Americans with Disabilities Act of 1990, as amended.

                                                                                                                                                     r1!*oAA:^
                                                                                                                                                                                 v
I want this charge filedwith both the EEOC and the State or local Agency, if any.                I   NoTARY      -   wh e n   n e   ce s s   ary'Wi                tv dfrfe   ne n ts
will advise the agencies if I change my address or phone number and lwill
cooperate fully with them in the processing of my charge in accordance with their                                                                  6; ;l;e
proceoures.
                                                                                                     I swear or affirm that I have read the aboVdd$tffigd that it is true to
I   declare under penalty of perjury thai the above is true and correc.t.                            the best of my knowledge, information and belldf Ul.flnn
                                                                                                     STGNATURE oF         coMPLATNANT                                    '|r'C


                                                                                                     SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
         Oct 31,2016                                                                                 lmonth, day, yeai
                                                                                                                                                   c.
                    Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 17 of 20 PageID #:17
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                                                                        ^\/riFrri



                                                               Norrer oF RrcHT To SUE
                                                                 (CortruuenoN                FATLURE)
To: Dorothy J. Swafford                                                                From: Chicago District Office
       451 East 48th Place                                                                             500 West Madison St
       Chicago, lL 60615                                                                               Suite 2000
                                                                                                       Chicago, lL 60661




                  On behalf of person(s) aggrieved whose identity is
                  C3NFIDENTIAL (29 CFR 91601.7(a))

EEOC Charge No.                        EEOC Representative                                                                   Telephone No.

                                       Katarzyna Hammond,
 440-2017-00479                        lnvestigator                                                                          (312) 869-8024

TO THE PERSON AGGRIEVED:

ThisnoticeconcludestheEEOC'sprocessingoftheabove-numberedcharge. TheEEOCfoundreasonablecausetobelieve
that violations of the statute(s) occurred with respect to some or all of the matters alleged in the charge but could noi obtain a
settlement with the Respondent that would provide relief for you. ln addition, the EEOC has decided that it will not bring suit
against the Respondent at this time based on this charge and will close its file in this case. This does not mean that the EEOC
is certifying that the Respondent is in compliance with the law, or that the EEOC will not sue the Respondent later or intervene
later in your lawsuit if you decide to sue on your own behalf.

                                                             . NOTICE OF SUIT RIGHTS
                                                         (See the additional information attached to this f1rm.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.

lf you file suit, based on this charge, please send a copy of your court complaint to{his office.

                                                                    On behalf of the Commission




 Enclosu res(s)                                                                                                                    (Date Mailed)
                                                                  Julianne Bowman,
                                                                   District Director
        WAL.MART STORES, INC.
        c/o Elizabeth LaFollette
        Littler Mendelson, GSC
        2301 McGee Street, Suite 800
        Kansas City, MO 64108
    Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 18 of 20 PageID #:18                                              1>




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                                                Chicago District Office
                                                                                  500 West Madison Street, Suite 2000
                                                                                                 Chicago, IL 60661
                                                                                                 TTY     (3   r2) 869-SC0o
                                                                                                 Ir,\x   (3   l2) 869-Stt0




Charge Number 440-201        7 -0041 9




Dorothy Swafford                                                              Charging Party
451 East 48th Place
Chicago, Illinois 6061 5

        v.

Wal-lvlart Stores, Inc.                                                       Respondent
10900 South Doty Avenue
Chicago, Illinois 60628


                                           DETERMINATION


Under the authority vested in me by the Commission's Procedural Regulations, I issue the
follor,ving determination on the merits of the subject charge filed under the Amcricans rvith
Disabilities Act of 1990, as amended (ADA).

The Respondent is an employer within the meaning of the ADA, and all requ'rements for
coverage have been met.

The Charging Party alleges that she was discriminatecl against because of her disability, in that
she was not returned to work following a medical leave of absence, in violation of th.e ADA.
                                                                          t
ihave cietermineci ihar rhe eviclctice obtaiireci ii.-, ilic in',::siigation establishes rees+n::ble catrsi tr
believe that Respondent discriminated against the Charging Party and a class of individuals
because of their disabilities, in that they were not allowed to return to work from a medical leave
of absence, in violation of the ADA.

This determination is       final.
                                When the Commission finds that violations have occurred, it
attempts to eliminate unlawful  practices by informal methods of conciliation. Therefore, I invite
the parties to join with the Commission in reaching a just resolution of this matter. Disclosure of
information obtained by the Commission during the conciliation process will be made only in
accordance u,ith the Commission's Procedural Regulations (29 C.l".R. Part i601.26).
ii    Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 19 of 20 PageID #:19
'' r.r1-^-.,.     . \T

     Determination
,    Prg:       T',','o


    If the Respondent wishes to accept this invitation to parlicipate in conciliation
                                                                                       efforts, it may cio
    so at this time by proposing terms for a conciliation agreement:
                                                                      that proposal shoulcl be providecl
    to the Commission representative within l4 days of the date of this
                                                                          determination. 'rhe remeclies
    for violations of the statutes we enforce are deiigned to make the identified
                                                                                   victims whole ancl to
    provide corrective and preventive relief.

These remedies may include, as appropriate, an agreement by
                                                             the Respondent not to engage in
unlawful employment practices, placement of identified viciims in positions
                                                                             they would have
held but for discriminatory actions, back pay, restoration of lost benefits,
                                                                             injupctive relief,
compensatory and/or punitive damages, and notice to employees
                                                                    of the vioiation and the
resolution of the claim.

Should the Respondent have further questions regarding the conciliation
                                                                                  prceess or the
conciliation terms it would like to propose, *e encou.ige it to contact
                                                                        the assigned Commission
representative' Should there be no response from the [espondent in
                                                                       14 days,"*" *uy conclucle
that further conciliation efforts would be futile or nonploductive.



                                                          On tsehalf of the Commission:




                                                            lianne Bowman
                                                         Acting District Director
    Case: 1:18-cv-08073 Document #: 1 Filed: 12/07/18 Page 20 of 20 PageID #:20


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                                              Chicago District Office
                                                                                                                      Chicago,   IL   60661
                                                                                                          CHICAGO DD: (312) 869-8000
                                                                                                                  mY:    (312) 869-8001
                                                                                                          INTAKE FAX: (312) 869-8170

Dorothy J. Swafford
451 East 48th Place
Chicago, IL 60615




                Re:        Charging Party:                Dorothy J. Swafford
                           Respondent:                    WALMART
                           EEOC Charge:                   440-2017-00479



Dear Ms. Swafford:

Attached please find a Notice of Right to Sue issued on your behalf in the above referenced
matter. The Commission's efforts to conciliate this matter with Respondent have been
unsuccessful. The Commission has determined that it will not bring a lawsuit against the
Respondent. By issuing the attached Notice of Right to Sue, the Commission is terminating its
processing of your charge.

The attached Notice of Right to Sue entitles you to pursue private litigation conceming your
allegations against Respondent(s) within 90 days of your receipt of this letter. You may wish to
retain a private attorney at this time.

If you do file suit   based on this Notice of Right to Sue,                  it is requested that you provide us with                     a
copy of the complaints you file in court.


                                                                       On Behalf of the Commission:
                                                                                         t



                                                                       Julianne Bowman
                                                                       District Director


Enclosure(s)
161-A
Form 5
Notice of Disclosure Rights
Filing Suit in Illinois
